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                              UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Norfolk Division



THOMAS PEREZ,

                         Plaintiff,

V.                                                                   Action No. 2:14cv516


HPR MEDICAL SERVICES, LLC, et al.,

                         Defendants.




                             SETTLEMENT CONFERENCE ORDER


       This case has been referred to the undersigned for a settlement conference. In order to
facilitate the just and expeditious resolution of this case, it is ORDERED as follows:
       1.      All parties and their lead counsel are required to appear at a settlement conference
scheduled in the United States District Court, 600 Granby Street, Norfolk, Virginia 23510, at
2:00 p.m. on June 27, 2016, for the purpose of conducting discussions, in good faith, towards a
compromised resolution of this case.       Counsel must notify parties attending the settlement
conference that electronic equipment (cell phones, iPads, laptops, etc.) is not permitted in the
courthouse without the express permission of the Court.
       2.      EACH PARTY MUST BRING TO THE SETTLEMENT CONFERENCE A

PERSON WITH FULL AND COMPLETE AUTHORITY TO SETTLE THE CASE.

Local Civil Rule 83.6.

       3.      No party representative or party shall appear at the conference via telephone
without first obtaining Court approval.
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       4.      The authority of persons in attendance shall include the ability to completely
resolve all facets of the case without the need to seek or obtain additional authority from persons
not in attendance. An insured party shall appear together with a representative ofthe insurer with
authority to negotiate and conclude a settlement. An uninsured corporate party shall appear by a
party representative with authority to negotiate and conclude a settlement. If there are issues
involving medical or other liens, plaintiff shall attempt to have a representative for the lienholder
present or available by telephone with authority to negotiate and conclude a settlement.
       5.      Prior to the settlement conference, the parties should make a good faith effort to
negotiate and settle the case. Accordingly, at least fourteen (14) days prior to the settlement
conference, plaintiffs counsel shall submit a written itemization of damages and settlement
demand to defendant's counsel with a brief explanation of why such a settlement is
appropriate. No later than seven (7) days prior to the settlement conference, defendant's
counsel shall submit a written offer to plaintiffs counsel with a brief explanation of why
such a settlement is appropriate.
       6.      The substantive negotiations at the settlement conference are confidential and may
not be used by the parties for any purpose other than settlement. Federal Rule of Evidence 408.
       7.      The parties must:
               a.      Submit a brief memorandum of five pages or less directly to the
                       chambers of the undersigned (do not file in the clerk's office) by noon
                       on June 20, 2016.      Do not serve a copy of the memorandum on the
                       opposing party unless you wish to disclose your settlement position.
                       The memorandum can be emailed to:

                       Robert_Krask@vaed.uscourts.gov and
                       Jacqueline_McIntyre@vaed.uscourts.gov.
               b.      The memorandum will be considered and maintained on a confidential

                       basis and will be destroyed upon conclusion ofthe conference, regardless of
                       outcome.

               c.      The memorandum should address the following:
                       i.     An objective overview of the basic allegations and relevant facts;
                       ii.    A realistic assessment of the strengths and weaknesses of each
                              party's position;
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                         iii.   A summary of settlement discussions to date including copies of
                                the settlement letters exchanged by the parties in ^ 5 above;
                         iv.    A statement of settlement expectations (to include proposed
                                settlement offers); and
                         V.     Identify the lawyers and party representatives who will attend the
                                conference.

        8.     If the case presents unusual circumstances, or if you have any questions, counsel
are encouraged to set up a conference call with the undersigned.
        9.     At the settlement conference, counsel must be prepared to provide a brief oral
presentation outlining the factual and legal highlights of the case to be followed by separate
confidential caucuses.

        10.    The parties must be prepared to reduce to memorandum form at the conclusion of
the conference the basic terms of any settlement agreement. In the alternative, the court may
require counsel and the parties to state the terms of the settlement agreement on the record.
        11.    If^ narte or other confidential discussions occur during the settlement conference,
the undersigned will not conduct any other hearing or make any further decisions in this case after
beginning the settlement conference. The undersigned will not disclose the information received
during the settlement conference to anyone without the permission of the party providing the
information. The discussions occurring in the settlement conference may not be used by or
against any party. Federal Rule of Evidence 408.
       12.     If a party appears at the settlement conference without having complied with the
requirements of this Order, the Court may continue or cancel the settlement conference, and may
assess against the noncomplying party, attorney, or both, a monetary sanction which may include
the fees and expenses incurred by the other parties in attending the settlement conference.
       13.     IF THE PARTIES AGREE UPON A SETTLEMENT (BEFORE, DURING,
OR AFTER THE SETTLEMENT CONFERENCE), COUNSEL FOR ONE OF THE
PARTIES SHALL IMMEDIATELY NOTIFY THE COURT BY ELECTRONICALLY
FILING A NOTICE OF SETTLEMENT.
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       The Clerk shall mail a copy of this Settlement Conference Order to all counsel of record.



                                                      Robert J.Krask
                                                      United States Magistrate Judge
                                                           Robert J. Krask
                                              UNITED STATES MAGISTRATE JUDGE

Norfolk, Virginia
May 16, 2016
